Case 2:04-cr-20463-.]PI\/| Document 24 Filed 04/22/05 Page 1 of 2 Page|D 38

 
    

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE USAPR g d

 

WESTERN DIVISION : 58
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UNITED STATES OF AMERICA, ) `“ '!"'°‘5515‘\»'1¥3!~'{|'3
Plaintiff, §
vs. § CR. NO. 04-20463-Ol-Ma
TIMOTHY VO, §
Defendant. §

 

ORDER ON CI-I.ANGE OF PLEA

 

This cause came on to be heard on April 21, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Timothy Vo, appearing in person and With retained
counsel, Mr. Jack McNeil.

With leave of the Court, the defendant entered a plea of
guilty to Count 9 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, July 29, 2005 at
10:00 a.m.

The defendant may remain on his present bond pending
sentencing.

_::::f day of April, 2005.

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SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

